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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 12-0488CCC
 1) JOSE BABILONIA-TORRES
 2) IRVING MELECIO-RAMIREZ
 3) XAVIER MELECIO-RAMIREZ
 4) VICTOR REAL-ALOMAR
 5) JOSE GONZALEZ-BERNARD
 6) FELIX A. HERNANDEZ-BURGOS
 7) ALEXIS HERNANDEZ-BURGOS
 8) PABLO ECHEVARRIA-RODRIGUEZ
 9) JOSE ACEVEDO-VELEZ
 10) BRIAN OSORIA-PADILLA
 11) ORLANDO FELIX-NEGRON
 12) NELSON ALONSO-GALARZA
 13) PEDRO JAVIER HERNANDEZ-SOSA
 Defendants


                                            ORDER

       Having considered the Report and Recommendation filed on January 21, 2014
(docket entry 461) on a Rule 11 proceeding of defendant Pedro Hernández-Sosa (13)
before U.S. Magistrate Judge Bruce J. McGiverin on January 14, 2014, to which no objection
has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is
accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements
of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a PreSentence
Investigation Report since January 14, 2014. The sentencing hearing is set for April 22,
2014 at 4:15 PM.
       The U.S. Probation Officer is reminded that, should any objections be raised by
defendant to the PreSentence Report, the Addendum to said PreSentence Report must
specifically identify any unresolved objections, the grounds for the objections, and the
U.S. Probation Officer’s comments on them, as required by Fed. R. Crim. P. 32(g). The
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party that raised the unresolved objections shall, within twenty-four (24) hours after the
Addendum is disclosed, state in writing whether it will insist that the unresolved objections
be ruled upon by the Court. Failure to do so will be deemed by the Court as a withdrawal
of the unresolved objections.
       SO ORDERED.
       At San Juan, Puerto Rico, on February 11, 2014.



                                          S/CARMEN CONSUELO CEREZO
                                          United States District Judge
